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AO 241 (Rev. 09/ 17)

                                     PET I T ION UNDER 28 U.S.C. § 2254 FOR WRIT OF
                                   HABEAS CORPUS BY A PERSON IN STATE CUSTODY

United States District Court                                              I D istrict : Southern District of Ohio
Name (under which you were convicted):                                                                         Docket or Case No.:
Jeremiah Ulysses Jones                                                                                        2018 CR 062 5

Place of Confinement :                                                                      Pri soner No. :
Southern Ohio Correcti onal Faci lity                                                      A763417

Petitioner (include the name under which you were convicted)               Respondent (authori zed person ha,·ing custody of petitioner)

                  Jeremiah Ulysses Jones                             V.                       Cynthi a Davis , Warden



The Attorney General of the State of:



                                                                  PETITION



1.        (a) Name and locati on of court that entered the judgment of conviction you are challenging:

            Trumbull Cou nty Co urt of Common Pleas. 161 High St. , NW, Warren , Ohio 44481




          (b) Criminal docket or case number (if you know):               2018 CR 0625

2.        (a) Date of the judgment of conviction (if you know):           06/ 17/2019

          (b) Date of sentencing:         06/1 7/2019

3.        Length of sentence:        6 years aggregate

4.        In this case, were you convicted on more than one count or of more than one crime?                   0    Yes         ~          0


5.        Identify all crimes of which yo u were convicted and sentenced in this case: Aggravated robbe ry with gun

            specification .




6.        (a) What was your pl ea? (Check one)

                                      0    ( 1)      Not guilty             0    (3 )       Nolo contcndere (no con test)

                                     fl1 (2)         Guilty                 0    (4)        In sa nity plea


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          (b) If you entered a guil ty plea to one count or charge and a not gu ilty plea to another count or charge, what did

          yo u plead guil ty to and what did yo u plead not guilty to?




          (c) If yo u went to tri a l, what ki nd of trial did you have? (C heck one)

                         0 Jury       O      Judge on ly

7.        Did you testify at a pretri al hearing, tria l, or a post-trial hearing?

                         0 Yes        V      No

8.        Did you appea l from the judgment of conviction')

                         0 Yes        fi( No
9.        If you did appeal , answer the followin g:

          (a) Name of court:

          (b) Docket or case number (if yo u know):

          (c) Result:

          (d) Date of result (if yo u know):

          (e) Citation to the case (if you know):

          (f) Grounds rai sed:




          (g) Did you seek further review by a higher state court?              0    Yes   ~ No

                       If yes, answer the fo llowing:

                       ( 1) Name of court:

                       (2) Docket or case number (if you know):

                       (3) Result :




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                      (4) Date of result (if you know) :

                      (5) Citation to the case (if you know):

                      (6) Grounds raised:




          (h) Did yo u file a petition for certiorari in th e United States Supreme Court?              0    Yes        ~ No
                      If yes, answer the following:

                      (1) Docket or case number (if you know) :

                      (2) Result:



                      (3) Date ofresult (if you know):

                      (4) Citation to the case (if you know) :

10.       Other than the direct appeals li sted above, have yo u previously filed an y other petitions , app li cations, or motions

          concern ing this judgment of conv iction in any state court?                 '1/ Yes          O    No

11 .      lfyour answer to Question 10 was "Yes," give the following info11nation:

          (a)         (I) Name of court:       Trum bull County Court of Common Pleas

                      (2) Docket or case number (if you know):          2018 CR 0625
                      (3) Date of filing (if yo u know):         06/07/2023

                      ( 4) Nature of th e proceeding:           Motion to withdraw guilty plea

                      (5) Grounds rai sed:    Petitioner incompetent to enter plea.




                      (6) Did yo u receive a hearing where ev idence was given on your petition , application , or motion?

                        0   Yes      ff No
                      (7) Result:    Motion denied.



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                       (8) Date of result (if you know):     06/12/2023

          (b) lfyou filed any second petition, app lication, or motion, give the same information:

                       (1) Na me of court:

                       (2) Docket or case number (if you know):

                       (3) Date of filin g (if yo u know):

                       (4) Nature of the proceed ing:

                       (5) Grounds raised:




                       (6) Did yo u recei ve a hearing where evidence was given on your petit ion, application, or motion?

                         0 Yes         0     No

                       (7) Resu lt:

                       (8) Date of result (if yo u know):

          (c) If yo u fil ed any third petition , app lication , or motion. give the same information :

                       (I) Name of court:

                       (2) Docket or case number (if you know):

                       (3) Date of filin g (if yo u know):

                       (4) Nanire of th e proceed ing:

                       (5) Grounds rai sed:




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                       (6) D id you receive a hearin g where evidence was given on yo ur petiti on, appli cation , or motion?

                         0 Yes          0      No

                       (7) Resul t:

                       (8) Date of result (if you kn ow):

          (d) Did yo u appea l to th e highest state court having j uri sd iction over the actio n taken on yo ur petition, application,

          or motion?

                       ( l) F irst petition:        ,I ves     0    No

                       (2) Second petition :        0 Yes      0    No

                       (3) Thi rd petition:         0 Yes      0    No

          (e) If you d id not app eal to th e highest state co urt having juri sdiction, exp lai n why yo u did not :




12.       For thi s petition, state every ground on whic h you clai m th at you are be ing he ld in vio lation of th e Constitution,
          laws, or treaties of the United States. Attach ad diti onal pages if yo u have mo re than fo ur gro unds. State th e facts
          suppo rtin g each gro un d . A ny lega l arguments must be submitted in a separate memora ndum .

          CAUTION: To proceed in th e federal court, yo u must ordina rily fi rst ex haust (use up) you r available
          state-court remedies on each ground on which yo u requ est action by the federal cou rt. Also, if you fail to set
          forth all the grounds in this petition, you may be barred from presenting additional gro unds at a later date.

GROUND ONE:              Petitioner did make a knowing and volu nta ry plea since he was not competent to do so.



(a) Supporting facts (Do not argue or cite law. Just state the spec ific facts that support your claim.) :

See Exhibit A attached.




(b) If yo u di d not ex haust yo ur state remedies on Gro und One, ex pl ain why:




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(c)        Direct Appeal of Ground One:

           (1) If you appealed from the judgment o f convicti on, did you ra ise thi s iss ue'?            ft Yes          0    No

           (2) If you did not raise this iss ue in your d irect appeal, explain wh y:




( d) Post-Conviction Proceedin gs:

           ( I ) Did you raise this issue th ro ugh a post-conv iction moti on or petition fo r habeas corpus in a state trial court?

                        D Yes        D      No

           (2 ) If your answer to Questi on (d)( 1) is "Yes," state:

           Type of motion or petition :

           Name and location of th e court where th e motion or pet ition was fil ed:



           Docket or case number (i f you know):

           Date of the court's deci sion:

           Result (attach a copy of the court's opini on or order, if ava ilabl e):




           (3) Did you recei ve a hea ring on your motion or petiti on?                                    D    Yes        D    No

           (4) Did you appea l rrom th e denial o f your moti on or petit ion '1                           D    Yes        D No

           (5) If your answer to Question (d)(4) is "Yes," did yo u rai se thi s issue in the appea l?     D    Y es       D    No

           (6) If your answer to Questi on (d)(4) is "Yes," state:

           Na me and location of th e court where th e appea l was tiled:



           Docket or case number (if you know):

           Date of the court's dec ision:

           Result (attach a copy of the court's opin ion or order, if ava ila ble):




           (7) If your answer to Questi on (d)(4) or Questi on (d)(5) is" o." exp la in why you did not raise this issue :




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(e) Other Remedies: Describe any other procedures (s uch as habeas corpus, adm ini strati ve remedies, etc.) that yo u have

used to exhaust your state remedies on Ground One:




GROUND TWO:



(a) Supporting facts (Do not argue or cite law. Ju st state the specific facts that support your c laim. ):




(b) If you did not exhaust your state remedies on Ground Two, expl ain why:




(c)        Direct Appeal of Ground Two:

           ( 1) If you appealed from the judgment of conviction, did you raise this issue?              0     Yes     0   No

           (2) If yo u did not raise thi s issue in your direct appeal , explain wh y:




(d)        Post-Conviction Proceedings:

           (1) Did you raise this issue through a post-conviction mot ion or petition for habeas coqJus in a state trial court?

                       0 Yes         O    No

           (2) If your answer to Question (d)( l ) is "Y es," state:

           Type of motion or petition:

           Name and location of the co urt where the motion or peti tion was filed:




           Docket or case number (if you know):



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          Date of the com1's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (3) Did you receive a hearing on yo ur motion or petition ?                                 0      Yes      0     No

          (4) Did yo u appea l fro m the denial of your motion or petition?                           0      Yes      0     No

          (5) If yo ur answer to Question (d)(4) is "Yes," did you ra ise this issue in the appeal?   0      Yes      0     No

           (6) If your answer to Question (d)(4) is "Yes," state :

           Name and location of the court where the appeal was filed:



           Docket or case number (if you know):

           Date of the cou11's dec ision:

           Result (attac h a copy of the cou11's opin ion or order, if ava ilable):




           (7) If yo ur answer to Question (d)(4) or Question (d)(5) is "No," explain why yo u did not raise this iss ue:




(e)        Other Remedies: Describe any other procedures (s uch as habeas corpus, admini strati ve remedies , etc.) that you

           have used to exhaust your state remedies on Ground Two :




GROUND THREE:



(a) Supporting facts (Do nor argue or cite law . Just state the specific faces that support your claim .):




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(b) If you did not exhaust yo ur state remedies on Ground Three, explain why:




(c)       Direct Appeal of Ground T hree:

          ( 1) If you appealed from the judgment of conviction, did you rai se th is issue'1            0    Yes       0   No

          (2) If you di d not rai se thi s issue in your direct appea l, explain wh y:




( d)      Post-Conviction Proceedings:

          (I) D id you ra ise this issue through a post-convicti on motion or petit ion for habeas corpus in a state trial court?

                       0   Yes      O      No

          (2) If your answer to Questi on (d)( l) is "Y es," state:

          Type of motion or petition:

          Name and location of the court where th e motion or petition was filed:



          Docket or case number (if you know):

          Date of the cou11's decis ion:

          Result (attach a copy of the co urt's opini on or order, if ava il ab le):




          (3) D id you receive a heari ng on your motion or petition ?                                  0    Yes        0 No

          ( 4) Did you appeal from the denial of you r motion or petition?                              0    Yes        0 No

          (5) If your answer to Question (d)(4) is "Yes," did yo u raise this issue in th e appea l?    0    Yes        0 No

          (6) If yo ur answer to Question (d)(4) is "Y es," state:

          Name and location of the court where th e appeal was filed:



          Docket or case number (if yo u know):

          Date of the court's decision:

          Resu lt (attach a copy of the court's opinion or ord er, if ava ilab le):




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          (7) If your answer to Q uestion (d)(4) or Question (d)(S) is "No," ex plain why you did not rai se thi s issue:




(e)       Other Remedies: Describe any other procedures (such as habeas corpus, admin istrati ve remedies, etc.) that you

          have used to exhaust you r state remedies on Gro und Three:




GROUND FOUR:



(a) Supporting fac ts (Do not argue or cite law. Just state the specific facts that supp ort your cl aim .) :




(b) If yo u did not exhaust your state remedi es on G rou nd Four, ex pla in why:




(c)       Direct Appeal of Ground Four:

          (I) If you appealed from the judgment o f conviction, did you rai se thi s issue•)              0     Yes     0 No

          (2) If you did not ra ise this issue in you r direct appeal, explain wh y:




(d)       Post-Conviction Proceedings :

          ( 1) Did you rai se th is issue through a post-conv iction motion or petition for habeas corpus in a state tri al court?

                      □   Yes      □      No

          (2) If your answer to Questi on (d)(l ) is "Yes," state:

          Type of moti on or peti tion:


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           Name and location of the court where the motion or petition was filed:



           Docket or case number (if you know):

           Date of the court's decision :

           Result (attach a copy of the coun's op inion or order, if ava ilabl e):




           (3) Did you recei ve a hearing on your motion or petition?                                   0   Yes        0 No

           (4) Did you appeal from the denial of yo ur motion or petition?                              0   Yes        0 No

           (5) If your answer to Question (d)(4) is "Y es," did yo u raise thi s issue in the appeal?   0   Yes        0      0


           (6) lf your answer to Questi on (d)(4) is "Yes," state:

           Name and locatio n of the cou11 where the appea l was fil ed:



           Docket or case number (if yo u know):

           Date of the court's decision:

           Result (attach a copy of the court's opini on or order, if available):




           (7) lfyour answer to Question (d)(4) or Question (d)(5 ) is "No," ex plain why yo u did not ra ise th is issue:




(e)        Other Remedies: Describe any other procedures (s uch as habeas corpus, ad min istrative remedies, etc.) that you

           have used to exhaust your state remedi es on Ground Four:




                                                                                                                             Page 12 of 16
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13.       Please answer these additional questions about th e petition you are filing:

          (a)         Have all gro unds for relief that you have raised in this petition been presented to the highest state court

                      having jurisdiction?    rlf Y cs        O     No

                      If your answer is "No," state which grounds have not been so presented and give you r reason(s) for not

                      presenting them:




          (b)         ls there any ground in this petition that has not been presented in some state or federal court? If so, wh ich

                      ground or grounds have not been presented, and state your reasons for not presenting them:

                       No.




14.       Have you previously filed any type of petition , application , or motion in a federa l court regard ing the conviction

          that you challenge in this petition ?          0    Yes        fl1 No
          If "Yes," state the name and location of th e court, the docket or case number, the type of proceeding, the issues

          raised, the date of the court's decision, and the result for each petition, app lication , or motion filed. Attach a copy

          of any co urt opinion or order, if available.




15.       Do you have any petition or appeal now pending (fi led and not decided yet) in any court, either state or federal, for

          the judgment you are challenging?              0    Yes

          If "Yes," state th e name and location of the cou11, the docket or case number, the type of proceeding, and the issues

          raised.




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16.        Give the name and address, if you know, of each attorney who represented you in the foll owi ng stages of the

          j udgment you are challenging:

           (a) A t preliminary heari ng:    Unknown



           (b) A t arraignment and plea :     Robert Rohrba ugh II , address unknown



           (c) At trial:



           (d) At sentencing:     Robert Roh rboug h II



           (e) On appea l:



           (f) In any post-conviction proceeding:        Michael A. Partlow, PO Box 1562, Stow, OH 44224



           (g) On appeal fro m any rulin g against you in a post-con viction proceeding :    Michael A. Partlow




17.        Do you have any future sentence to serve after you complelc the sentence for the judgment that you are

           chall enging?            ft Yes       0      No

           (a) If so , give name and location of court that imposed the other sentence you wi ll serve in the fu ture:

            Same court-differen t case. Habeas relief being sought shortly.



           (b) Give the date the other sentence was imposed:          07/22/2019

           (c) Give the length of the other sentence:        12 years aggregate.

           (d) Have you fi led, or do you plan to fi le, any petition that cha ll enges the j udgment or sentence to be served in the

           future?                  fl Y es      O       o

18.        TIMELINESS OF PETITION: If your judgment of conviction beca me final over one year ago, you must exp lai n

           why the one-year statute of limitations as contained in 28 U.S.C. § 2244(d ) does not bar your petition.*

             One year did not sta rt to run until 1 year after exhaustion of stae remedies regarding Motion to Withdraw

             guilty plea .




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* The Antiterrorism and Effecti ve Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. § 2244(d) provides in

part that:

          (I)          A one-yea r peri od of limitation shall apply to an app li cation for a writ of habeas corpus by a person in
                       custody pursuant to the judgmen t of a State court. The limitation period shall run fro m the latest of -

                       (A)      the date on which the judgment became fina l by the conc lusion of direct review or the expiration
                                of the time for seeking such review;

                       (8 )     the date on whi ch the impediment to fi li ng an application created by State action in violati on of
                                the Constitution or laws of the Uni ted States is removed, if the ap plicant was prevented fro m
                                filin g by such state ac tion;

                       (C)      the date on w hich the constitutional right asserted was initiall y recognized by the Supreme Court,
                                if the ri ght has been newl y recogni zed by the Supreme Co ul1 and made retroactively app licable to
                                cases on co llatera l review; or

                       (D)      the date on wh ich the fact ual predicate of the cla im or cla ims presented could have been
                                disco vered through the exercise of due diligence.




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           (2)          The time durin g which a properly fi led application for State post-conviction or other collateral review with
                        respect to the pertinent judgment or claim is pending shall not be counted toward any period of limitation
                        under thi s subsection.

 Therefore, petitioner asks that the Cou11 gran t the fol lowing relief:     vacate Petitioners gu ilty plea.




 or any other relief to w hich petitioner may be en titled .



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/c:::? f~A- /56<
>fi?h/' C:7// 9'9-?<y                                                            ~~
                                                                             Signature of Attorney (if any)
 ~ r~~ .:?-? 9~



 I declare (o r certify, veri fy , or state) under penalty ofpe1j ury that the forego ing is true and correct and that this Petition for

 Writ of Habeas Corpus was placed in the prison mailing system on                                           (month, date, year).




 Executed (signed) on                                     (date).




                                                                                 Signature of Petitioner

 If the person signing is not petitioner, state relationship to petitioner and explain why petitioner is not signing this petition.

Petitioner is incarcerated in SOCF , cannot read or write and has an IQ in the low 50's.




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                         EXHIBIT A-GROUNDS FOR HABEAS PETITION

       This is a proceeding hased upon the Trial Courts ,knial of Petitioner's Motion to withdraw his

prior guilty plea. The Trial Court denied such. essential!) without comment. In the within case

although sentence has been imposed, it is submi1ted that J rnunifcsl injustice took place which

merits the selling as ide of the judgment of Petitioner\ c mvidions and merits pennitt •ng Petitioner

to withdraw his pleas.

           For cause, Petitioner submits that he was not :r 1 foct guil1 1 or charges for which he


   was convicted and he was not properly repn:scntcu [-:,, counsel. I le was further not properly

   advised of his constitutional rights and he did not knuwingly and inlcntionall) waive his

   constitutional rights prior to entering his picas.


          The record in this matler is quite clear lha1 l\:titio11cr's original !rial counsel sought a

   Cinding that Petitioner was not competent l o stand tri;1I. In that regard. two separate forensic

  examinations of Petitioner occurred. 1-'irst, the Forcm j._· P. ychiatric Center or North I ~ast

  Ohio conducted an evaluation of Petitioner. (Sl'C atL,1<..:11cd). While the L'valualor eventually

  determined that Petitioner was competent to stand tr ial. a variety or troubling factual

   findings were made in the process of that evaluation, 1o \Vil: (I) Pct itioncr cannot read or

  write, beyond signing his name; (2) Pctitiuner ,va • a HT) young man and had alv.,ays been in

   special education classes throughout hi s educatio nal cmcer; (]) tlll·re vvus "no doubt" that

   Petitioner suffered from an intellectual disability and scvcrnt tests sho,\cd Petitioner's IQ to he

   in an extremely low range or 56: ( 4) Petitioner wa:.; un.·urc or the role or a judµ_e in a trial

   proceeding; and (5) il was very dirlicult to gauge a kn I of Peti tioner's conecnlration. This first

   evaluation was based upon a TOMM test that \Vas adn11niste1\.:d indicating some level of

   malingering by Petitioner as to memory ,rnJ it was thl n concluded thut 1\::titioncr was
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   competent. J\ second evaluation was ordered.


             The second evaluation was comluclcd by TRAVCO Behaviora l I lcal tl1 and

essentially accepted the findings or the fi rst cvalrn1tin11. !'lie second evaluation was based

entire ly upon an interview with Petitioner \,\, hi ch ocnncd on one occasion and lasted for

approximate ly 45 minutes.


       J\ft:er these entluations were stipulated to and suhrn itted to the 'I rial Court, the Trial Court

found Petitioner to be competent to stand trial. Subsequent ly, l'di tiuncr \\ ithdrcw his prior not guilty

pleas and entered guil ty picas.
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'ltJJteHaie P ~
                                5212 Mc1honing Ave .. Suite 317. Youngstown , Ohio 445 I 5- 185 7
                                Phone: 330-792-1918 Fax: 3 30- 792-7712 TDD : 33 0-792-0098

Gerald L. Heinbaugh, MBA                                                                                       Vincent F. Arduin, LISW
   Executive Director                                                                                         Thomas G. Gazley, Ph .D.



                                                COMPETENCY EVALUATION                                          0-;.'vt-\- tx: ·(
                                                                                                                   r_(f 1 -(Cf              . .
                                                                                                                   l
        NAME: Jeremiah Jones
        CLIENT NO: 565703
                                                                 AGE: 19
                                                                 SEX: Male
                                                                                                                      \J'          l(JW
        CURRENT RESIDENCE:                                       RACE: African American
        Trumbull County Jail                                     MARITAL STATUS: Single
        Warren , OH                                              EDUCATION: High School Graduate,
                                                                               Special Education
         PHONE: None                                             INCOME SOURCE: Social Security Disability
         D.O.B.: 6/30/1999                                       DATE OF REPORT: 10/3/2018

         Dear Judge McKay:

         Jeremiah Jones is a 19 year old male referred to the Forensic Psychiatric Center of
         Northeast Ohio, Inc. for evaluation pursuant to O.RC. 2945 .371 (G)(3) Competency to
         Stand Trial. Mr. Jones has been charged in Trumbull County Court of Common Pleas
         with one count of Aggravated Robbery with Firearm Secification in violation of O.RC.
         2911 .01 (A)(1) and (C) and 2941 .145, first deg ree felony, and one count of Aggravated
         Robbery with Firearm Specification in violation of O.R.C. 2911.01{A)(3) and (C) and
         2941.145 first degree felony. in Trumbull County Court of Common P!eas Case No. 18
         CR 625 with one count of Aggravated Robbery with Firearm Specification (F 1) in
         violation of O.R.C. 2911.01(A)(1) and (C) and 2941.145. Mr. Jones is currently
         incarcerated in the Trumbull County Jail.

         Prior to beginning this evaluation, the limits to confidentiality inherent in a court ordered
         evaluation were carefully explained to Mr Jones. He was made aware a report would
         be prepared and presented to the court. Mr. Jones was provided the Forensic Center's
         Client Rights and Policies form for his own use. The Forensic Center's Informed
         Participation document was explained to Mr. Jones. He stated he understood the
         contents as explained. Mr. Jones reported he does not read, and as a result he did not
         read the Informed Participation document. I did not ask him to sign rt. Mr. Jones stated
         however he understood that a report would be prepared for the court and that I was not
         his treating doctor. He agreed to participate.

         SOURCES OF INFORMATION :

         1. Review of Order for Forensic Examination in Trumbull County Court of Common
            Pleas Case No. 18 CR 625.


A contraet agency of rhe Ashtabula County. Columbiana County. Mahoning Coumy anci Trumbull County Menr.?.I Health anci Recovery Services
                   Boards. the Unired St aces Probarion Office. Northern District of Ohio and che Feder JI Burec1u of Prisons

    Certified by the O hio Department ot M ental Healch Jnd Addiction Services - BureJu of Criminal lus1ice ,md forensic Services and rhe
                                             Ohio Department o f Rehabilitarion and Correction
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SOURCES OF INFORMATION (Continued):

2. Review of the Indictment in the alleged instant offense.

3. Interview with Ms. Deborah Croff, Jeremiah's biological mother at the Forensic
   Center office on 8/3/2018.

4. Interview with Jeremiah Jones at the Trumbull County Jail on 7/24/2018,
   approximately 40 minutes.

5. Administration and interpretation of the Wechsler Adult Intelligence Scale-IV Verbal
   Comprehension Index Subtests.

6. Collateral telephone contact with Ms. Deborah Croff on multiple occasions.

7. Review of Warren City Police Department Incident Report and Narrative Supplement
   for incident# 17-27384.

8. Review of Warren City Schools Evaluation Team Report for Jeremiah Jones dated
   2/6/2014.

9. Review of Social Security Administration Statement of Disability Benefit dated
   2/1/2018.

10. Second intervieliY with Mr. Jeremiah Jones at the Trumbull County Jail on
    9/13/2018, approximately 45 minutes.

11. Administration and interpretation of the Test of Memory Malingering (TOMM) on
    9/20/2018.

12. Attempted administration of the CAST*MR.

RELEVANT BACKGROUN,D INFORMATION:

Mr. Jones himself was a rather poor reporter of information. bur first interview was on
July 24· 2018. On that date, Mr. Jones stated he didn't think h~ knew his birthday but
thought perhaps he was born in June. He couldn't be sure of the month , day, or year.
He did know he was 19 years old . He stated he didn't know his address although he.
knew he lived with his mother, he was able to state his mother's name was Debbie Croff
but he didn't know how to spell her name. He reported his mother's phone number
because he had it written on a piece of paper carried in his pocket.




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RELEVANT BACKGROUND INFORMATION (Continued):

Mr. Jones stated he didn't know how many brothers he might have, he stated he had
one sister who is 14. He qidn't know the name of his father. He was unable to report
where he grew up and couldn't remember where he went to school.

Mr. Jones stated he was passed through school, "I finished school, but you'd have to
look on my school record to know where it was."

Mr. Jones denied taking any medication. He reported no physical problems.

I had the opportunity to meet with Jeremiah's mother, Ms. Deborah Croff on 8/3/2018.
She reported Jeremiah's birthday was 6/30/1999 and confirmed that he was 19 years
old. She stated he gets Social Security and she is his payee. He's never had a legal
guardian. She states "he never needed a guardian because I've always been around
him." Ms. Croff stated she has 11 children, the oldest is 34 and the youngest is 13.
She reported Jeremiah lived at 1637 Arlington Ave., NW in Warren, she stated she goes
to his house to care for him there.

Ms. Croff stated Jeremiah had a juvenile court record which wa~ "dropped because it
was dismissed." She reported he had developmental delays, he was born one month
premature, and has always been in special education classes. She reported he does
not read. She states she doesn't know what medication he takes, though reports he
was seeing a psychiatrist in Boardman. She does not know who that was.

I met with Mr. Jones again on 9/13/2018. On that date, he clearly remem bered his
birthdate as 6/30/1999. Mr. Jones was much more verbal on this interview than he was
initially. He responded to questions with significantly more detail. He was able to state
at one point in his history he and his mother were homeless, there was a fire in the
home, Mr. Jones was staying at an aunt's house in Cleveland. Mr'. Jones was able on
interview 9/13/2018 to describ~ circumstances surrounding the alleged offenses. He
used language such as "we were moving because .we got evicteq out of the apartment
because we were short on rent." He understood how DNA could be used as evidence,
he was talking about how clothes were allegedly found and reporte~ "it doesn't matter if
they took my DNA or nqt, they were my clothes so niy DNA is g9ing to be on them."
This was after he ask~d about "what's a DNA swab?" He also initially reported not
knowing what testify .means. Later 'in the intervie~·i: when asking · about a witness, he
stated "it's stuff they say in court they stand up to te~tify." He wl?rit on to state how a lot
of people said .they would testify fqr him in court. • H~ stated at times he would be
employed by his siste·r wl,o paid him to cut grass and do things· for her because she
owns houses. He also was able to report today that he had multiple siblings, and that
he had a younger brother, a juvenile co-defendant in the case. ·

I had the opportunity to review the Evaluation Team Report from the Warren City
Schools. There is no doubt, based upon formal testing that Mr. Jones has an



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RELEVANT BACKGROUND INFORMATION (Continued):

intellectual disability. Mr. Jones' historical testing data dated 2/23/2011 indicates a full-
scale IQ of 56 which is extremely low, academic achievement is all very low. Adaptive
behavior composite is also low. • This information would quality Mr. Jones for a
diagnosis of intellectual disability within the mild range. He never however received any
services from the Trumbull County Board of Developmental Disabilities. Previous
evaluation with the Wechsler Intelligence Scale for Children-Fourth Edition was dated
March of 2008. Again his full-scale IQ was 54, academic achievement was all very low,
and adaptive behavior was equally low. Two-thousand-five testing revealed intelligence
scores again within the mild mentally retarded range, with achievement consistent with
intellectual functioning. The February 2014 evaluation stated that Jeremiah's cognitive
ability has consistently been measured in the extremely low range. The 201 1
evaluation noted that Jeremi~h was displaying behaviqr that was adversely affecting
other children in the classroom, he was exhibiting a high 11umber of aggressive and rule
breaking behaviors, as well as being distracted. Jeremiah has consistently qualified for
special education services of the category of cognitive or intellectual disability_

In 2014, Jeremiah was due for a three year re-evaluation _ Unfortunately his mother
refused to sign consent for testing , and no new or updated testing could be done. The
record review was done instead.                  •                 •

Review of the Social Security Administration Disability Description states Jeremiah
Jones receives di~ability benefits for a primary diagnosi!;; of Mental Retardation and
secondary diagnosis which is Personality Disorder. This note was dated 2/1/2018.

Mr. Jones reports he smoked marijuana daily. He stated "my friends would have it." He
denied any alcohol use_ When asked about potential medical problems he stated he
was in the hospital once because "I thought I had the flu_" He reports no history of
psychiatric hospitalization. ,

MENTAL STATUS EXAM:

I had the opportunity to interview Mr. Jeremiah Jones on two separate occasions. Mr.
Jones' verbal presentation was significantly different from one interview to the next.
The initial interview took plac~ on '7ft41201 $. On t~at date; Mr. Jqnes .had an adequate
appearance for a jail'setting. ·He sports a. slight beard, he ls of average height, he has a
husky build. ,He has :tattoos o_n his arms. When Mr:' Jone:s '.spoke his speech was
generally clear and coherent..· Ther~ was no evi.d~!lce 9f thought disorder in form or in
content. . He was quiet,
                       . '
                           ho'Ji¢i.t!3r
                              '      ,,
                                        his spee'c.h was of normal ..rate. - •

There were no reported symptoms of mood disorder, no symptoms of depression, and
no symptoms of perceptual disorder in the form of hallucinations. He did not express
delusional thought content.




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MENTAL STATUS EXAM (Co.ntinued):

Mr. Jones was cooperative in that .he was in good behavioral control. He was in no
manner aggressive, hostile, or threatening .
Mr. Jones responded with limited memory, he could not remember his birthdate, his
address, or how to spell his mother's name. He didn't know where he went to school,
he didn't know any medications, and he didn't know where he grew up. He paused for
lengthy periods prior to providing any answer even if it ~as "I don't know." Mr. Jones
was oriented to person, place, in that he knew he was in jail, however he did not know
the date, he did not know why he was in jail other than "they said someone got robbed , I
don't know who, I was arrested because of rumors." Att~ntion and concentration were
difficult to gauge given his very poor memory function. There was no report of suicide
ideation, gesture, or attempt. Verbal intelligence est!fnated from language and
vocabulary use alone was likely in the very low range, mild intellectually disability range.

I atte.mpted to administer the Wechsler Ad ult Intelligence Scale-IV Verbal
Comprehension Index Subtests. This VJas on 7/24/2018. Mr. Jones was either
unwilling or unable to provide accurate responses to any of the . verbal subtest items,
even the most simplistic. For example, when asked to say what was the same about a
fork and a spoon he did not know. He didn't know what was the same about a horse
and a tiger because "I've never seen one." He didn't know what was the same about
carrots and broccoli because "I don't know what that is." When asked to define what is
an airplane he stated he didn't know. H~ stated he didn't know what a basket was. He
didn't know what was an apple, and he didn't know what was a book. I pointed to a
book and asked what that was and he said "I dqn't know." I abandoned · the
administration.

I also attempted to interview the CAST*MR, a multiple choice format test for evaluating
competency in persons with intellectual disabilities. Once again, even the most
simplistic sample item~, Mr. Jones could not answer. For example, when given the
                                         ould not pick the correct answer "put out fires".
statement "what does a firen,a'n do, he c_
He could not answer the statement ''what does a doctor ·do;,, with the correct answer
"treats sick people".                     •                 •

I interviewed Mr. Jones again o~ 9/1 312918. fy1L ~ones demonstrated significantly
better memory, significantly . better conversational skills,- and significantly improved
ability to respon!=I iri a rational and ,relevant manner to questions asked. For example,
on 9/13/2018, he easily recalled his birthd~te·, he ~new he was in jail, he knew the
alleged offenses were -supposed to have happened· in 20 17.· He was able to report
circumstances surrounding the alleged.offenses as he perceived them. He was able to
describe some historical background information such as being homeless, being at his
aunt's house in Cleveland and there being a fire at their house. He knew he was in
Warren, Ohio, however he had difficulty repeating three objects both immediately and
after several minutes.



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 MENTAL STATUS EXAM (Continued}:

 He was able to use vocabulary words that were atypical for a person with intellectual
 disability. For example he described peing "evicted" from his apartment because he
 was "short on rent". He understood DNA as potential evidence. He described getting a
 "reaction" to eating dairy products. He knew he had gone to school in Girard. He
 understood legal terms such as describing getting "indicted for a charge". He knew the
 difference between a rnunicip~I court and a common pleas court. He talked about
 charges being "bound over to. common pleas." He talked about "discovery". He knew
 about "bonding out." He useq the term in referring to .earlier charg~s "priors". He knew
 names of persons involved in the alleged instant offenses.

  Otherwise, Mr. Jones' presentation was similar to our ti'rst meeting, in that there was no
  disordered thought, no symptoms of depression or mania, no hallucinatory activity, no
  report of suicide or homicide thought.      Memory was significantly better, . verbal
  presentation was significantly better. He was more oriented today to person, place,
• time and situation.                                        •

 After interviewing Mr. Jones the second time, I started to have thoughts that he may be
 feigning memory deficits or cognitive impairment given the difference between the
 7/24/2018 interview and the S/13/2018 interview. I administered the Test of Memory
 Malingering to Mr. Jones on 9/20/2018. The TOMM provides a systematic method to
 discriminate between bona fide .memory impaired individuals and malingerers. While
 the TOMM is sensitive to malingering it is insensitive fo neurological impairment.
 According to the TOMM manual, all individuals, including those with neurological
 impairments, have a remarkably high capacity for storing and retrieving pictures of
 common everyday objects such as those used in the TOMM. As a result, a low score
 on the TOMM suggests memory impairment symptoms are false or exaggerated.

 In making a decision rc;:1ther or not an individual is exaggerating memory impairment,
 scoring lower than chance on any trial of the TOMM indicates the possibility of
 fabricating. This is an 1mportaf)t rule, given that arjyone can correctly identify 50% of
 the items simply by guessing. There are only two choices. So a score of 25 represents
 a chance level of responding. Any score betw~~n the range of 18 to 32 could
 statistically be considered possible due to gues~jng. Consequently, scores below 18
 are unlikely to occur by chance. These low scores imply that the individual knew some
 of the pictures were correct bl!t inte.nt1onally picked the incorrect item-. Mr. Jones
 produced a sc~:,re of 13 on the first trial; significan.tly below -¢hance guessing. On the
 secon.d trial, most individual~ do very welL .This i~ c·a[!e,d the retention trial. Any score
 lower than a 45 on the retention trial should raise concern the individual° is not putting
 forth maximum effort. Mr. Jones once again obtained a total score of 17, significantly .
 below what is likely to occur by chance gues~ing. The results are indicative of a strong
 suspicion Mr. Jones is not putti_ng fort~ maximum effort in responding, a_nd supports
 consideration of false or exaggerated responses .indicative of malingering.




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CLINICAL IMPRESSION:

317 Mild Intellectual Disability

Mr. Jones was unable to adequate.ly respond to attempts at measuririg his current
intelligence. School records however indicate Mr. Jones consistently sc;:;ored within the
mild intellectually disabled range on standard tests of intellectual ability·. In addition, he
scored in the very low range on mea~ures of achievement as w~II as· on measures of
adaptive behavior.        Given these scores and behaviors beginning wjthin the
developmental period, Mr. Jones would qualify for a diagnosis of Intellectual Disability,
Mild.     •                       •                             •                   '

There is no il"!dication Mr. Jones presents symptoms pf depression, anxiety, psychosis,
r,ania, or other severe or disabling mental illness. He was diagnosed by Social
Security Administration ·with a·Per~oriality Disorder.                             '

304.30 Cannabis Use Qisorder

Mr. Jones acknowledged smo~ing marijuana on a daily basis, warranting the diagnosis
of this is now in remission given the controlled environment of the.Trumbull County Jail.

Based upon the significant differerice in presentation offered by Mr. Jones on two
separate occasions as well as the evidence· of less than optimal effort on the TOMM,
the strong possibility of malingering warrants consideration. Mr. Jones is aware he is in
jail, he is aware he is facing years in prison should he _be convicted of the alleged
instant offenses. . H~ has· good motivation to fabricate •9r exaggerate memory and
intellectual impairment. I cannot however ignore the history ·of limited intellectual
functioning evidenced _in his school records. It is my opinipn he ~ould still qualify for a
diagnosis of Mild Intellectual Disability·.     •                   •

DEFENDANT'S ABILTY TO UNDERSTAND THE NATURE AND OBJECTIVE OF
LEGAL PROCEEDINGS: '. _. /' '.      •   •'              '  •

The f(rst interview on 7/24/2018 with Mr. Jeremiah Johes r~sulted in little to no
information regc;1rding bis , _un~er~tandil"!9 of legal proceeding~." The ·•information he
                                            a
presented on •9/1~/io18, hoWever wa~ much better indicati~n ~f his abilities.. For
exampJ~ on 7/24/2018, Mr. ,~ones whE;m asked about th~-alleged offenses stated "they
said sqrneon~ got rob.bed, I 'cion'.t kn<>w .who, I w~s arresfed because of rumors, I don't
knoW:'.( . No mqre jn~orm~tion, ·~a~: ~vailable .ab.out his·_ understanding of the legal
process. On 9/13/2018, M( Jones'was able to state that tr,e ch~rges were supp(?sed to
have happened in 2017. He stated the victim in one of the offeh~es tried to make his
name bad because he didn't have a re~ord. He again stc;1ted "somebody said they got
robbed, but it.doesn't add up.'.' He was able to describe cjrcumstances surrounding the
offense in a manner supporting his claim h~ wa$ "not g4ilty."




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DEFENDANT'S ABIL TY ·TO UNDERSTAND THE NATURE AND OBJECTIVE o'F
LEGAL PROCEEDINGS (Continued):
                 ' ' •
                             ;,




When asked about th~ s~verity of the alleged offenses,                              Mr. Jo~~s initially stated he
didn't know the severity' qt the offenses. He ~tated "I was never in tr~uble before, I'm
new to this." Later on 'however in the int~ryiew he was able to .state "I could go to
prison, I heard that if fwenJ to trial and was found guilty I could get 14 years." After Mr.
Jones stated he was not guilty, I asked him 'what he meant whe.n h~ said he was not
guilty. He stated "meah~ I didn't do it." When asked what a guilty plea meant, he stated
he didn't know. However ~hen presented with ••the option of erityring ~ guilty plea in a
plea deal for a substaf'!tially le~s amount of time in prison he statetj ,"they told my mother
they were offering sev~n y~c1r~. that's the only thing I heard, people said that's too long,
because I have no record. I would take two yec1rs if they said that, but that would even
be stupid." As a result, th~ implication is Mr. ✓ qnes does know that a guilty plea means
he admits a crime and that a plea. qargain would rnean that he WOL!ld admit something in
exchange for a significantly less punishment. Though Mr. Jones was either unable or
unwilling to state what occ~rr~d in a trial proce~s, he was able ~o report that he didn't
know why his charge i~n_'t thrown out. He stated "I had an a~orney at the municipal
court, this case should've gqt bound over to common pleas th~n .. ,They should have
bonded me out." He w$s' cfNare the offens~ ~tarted in municipal court.
                        ·!          _.           '   '          •   '   '   .                  '




Mr. Jones,when asked abput the roie of a witness stated "it's what they say, t~ey stand
to testify, a lot of people 'say they would testify for me in court. Nobody saw me do
anything." Mr. Jones theri wer;,t on to talk about potential motives of th~ accuser.
                              •   '! .:'   '•:                                  '         •.


Mr. Jones then stated that his mother wanted to make some recordings of other
statements "to bring t! tq c9urt for evidence." He initially had stated he di~n't know what
evidence meant. In ~i~cussing the circl.jmstances of the offens·~ he stated "they
probably have me orj tape · walking out of my apartment and walking back in, but I'm
allowed to do that." He t~~n went on to state "the Qnly thing they ~aye as evidence is a
shirt, but that's bee~~~~ i(was thrown out b~cause we were mov,ing, t~ey may bave
DNA on it but they'r:e JTlY,. GIOtDes anyway, sq.th~ DNA would be .On t~ern." _In addition,
Mr. Jones was aware tl}er~;w~s a gun specific~ti9n to his charges .. He stated however
"the police .n.ever foun~ff ~.Wl , ~ never h~d ,a ~yn, if I ~~d a ~Y?JhyY.w,ould have it in
court." When' I ~sked Mr: ~~nes if there _was proof bf his involvemeillin the offenses he
stated "the l~wyer said there vvas clothes, but 'we were being evicted the ONA would be            I.

there ~ny way."        ., • \ • • • • •       • • ••              • • ••

Mr. Jones stated that '~he pi9se·cutor's got nothing on me, there'.s no p·riors nothing ." In
that sense he was aware the prosecutor was looking to convict him. He also stated that
he was willing to be honest with his lawyer because "I've got nothing to hide I didn't do
it." Again, an awareness that his attorney was his advocate. He was unsure of the role
of a judge.




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DEFENDANT'S PRESENT CAPACITY TO ASSIST IN HIS DEFENSE:
 .                  .
Based upon my second interview with _Mr. Jeremiah _Jones on 9/13/2Q18, it is my •
opinion Mr. Jones has the ability to communicate with his attorney. Mr. Jones was able
to describe· circumstances ;;md events sum;>unding the alleged instant offense as he
understood them. He· was able to describe what might be available in terms of
evidence, witnesses, and witness testimony. He was able to stat(:} what might constitute
proof in his case. He was able to demonstrate recall for significant events about other
individuals involved in th~ ~lfeged offenses.

Mr. Jones was able to put together an arg ument supporting his claim in the offenses
charged. He has the capacity to recognize how this information as he perceives it is
different from information presented by the prosecution. That doesn't mean he is going
to be willing to reveal that he l;Jnderstands this to ~is attorney or to the court, however
he was able to demonstr~te this capacity during ou~ interview on 9/13(2018. •

Mr. Jones also has the capacity to consider legal advice regarding decisions. As an
example, he stated he· understood that he could get at least 14 years should he be
found guilty at trial. H_
                        e understood that his mother was told that they were offering 7
years, however believed t~at was too long, He ~tated "I would take 2 years if they said
that but I know I'm not guilty ·because I didn't do ·it." · In that sense,: Mr. Jones is also
motivated for a favorable 'outcqme, he _
                                       hopes· to avoid lengthy incarceration. Mr. Jones
was in generally good behavioral control during all of our interviews. He was in no
mar:mer aggressive, ho~tile, or threatening . Hjs behavior, at lea~t •in terms of his
physical behavior was 99~sistent with court expectation.                  •
                        .                                              .
Mr. Jones does not r~ad, his measured intelligenc~ is within the very low range, his
measured academic achievenient has been within the very low range. Qn a test of
memory however it was sle~r rv,r. Jones was pu'tting -forth minimal ~ffort in .a recognition
test. His score was indicatiye of exaggerating m~mory impairment. This test is sensitive
even with persons who ~ernon:;;trate significant le~itimate cognitive ~isabiiity.

OPINION:

Based upon interview with Mr. Jeremiah Johes, • as well k~ . reviewing collateral
documents and collat$,ral 'interviews, it is my opinion Mr. Jones s'uffers from Intellectual
Disability ii-) the mild fahg~: • Then~ · is no indi~~tion how~ver M~. Jo,~es presents any
symptoms of a sever~. or tj_is~bling mental illn~~s. Mr. Jones' lnt~\l~ctual qisability di9
not howev~r interfere ~it~ hi~ ability to describe his version of the circ;umstances
surrounding the instant offenses. It •did not interfere with his ability to generally
participate in the legal prbcess: As a result, it is my opinion with reasonable
psychological certainty, in spite of his Intellectual Disability, Mild, Mr. Jones has the




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    OPINION (Continued):

    . ability to understand the nature and objective of proc(;!edings ag·ainst him. The following
      support thi~ opinion:         •          • •                 •            •

     1. Mr. Jone~ understan~~ his c;:harges and potential penalty.

     2. Mr. Jqnes understands typical plea options ~o a criminal defendant.

     3. Mr. Jones is aple to under~tand the role of m~jor courtroom personnel.

    4. Mr. Jones evidenced an understanding of t~e adversarial nature of proceedings.

     5. Mr. Jones has a basic ~nderstanding of the ·trial process.

     6. Mr. Jon~s has ·a b~~ic understanding of the plE:a oargaining pro~ss.

     It is my opinion with reasoriable psychological certainty, Mr. Jeremiah Jones has the
    ,present capa9ity to assist in _hjs defense. The following support this opinion: •

     1. During our seconq int~rview, Mr. Jones respondeq to questions witti c~herent and
        releva11t an~wer~, his responses were reality based.           • •
                       ·' •       ' .:             ~
                                                   '
                        .                                            '       .                             .

     2. The above suggests Mr. ~ones has adequate communication s~ills to communicate
        with his attorney about the case, and provid~ rnea.ningful testimony on his own ••
        behalf should he.be willing. •         • .: •      •• •           ' • -. •
                    •       '                       . · .:·                           '

                                '.            '
     3. During o~r interview ~r. ~ones' behavior was :appropriate to the C,ourtroom setting,
         he had sufficient self-control.
                ·.~:        ~- ' •-'.:_       '




    4. Mr. Jones was. ~bl_e:to oe&cribe·events such as bE;}ing bound over from the municipal
         court to the comrngn plec::i~' court, he was able to describe the role ofthe alleged •
         victim, ~swell as the motjvation the victim may h~ve ih bringing the charges. This
         sugg~~ts his capac_ity ~o provide informatio~ to his attorney to pr~pare a defen_s~.
           ••   _-· .                     -       ' :!· .• · •: ;·               ..       ;   • -, •   '       '    ,- ,


     5. Mr'. Jon~s-demonstrat~_      c:l.fto_psychotic basis for any concerns, he inte'nc;is to .work
        with
         •
              his'f!ttorney
                 • •',. .- .
                             st~tirig
                               •
                                       h~. would be honest
                                    . '!·· ....:. '.       .
                                                              with his attorney. •         •

     6. Mr. Jor:,es expresse9 hi~:~,o~cern to achieve the best out~ome possiple iri his case.

     7. In reviewing police reports, Mr. Jones was able to report to an investigating officer
        that he understood his rights as explained in the Howland Police Department
        Constitutional Rights and Waiver of Rights form.




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   OPINION (Continued):   •   I



 , 8. Review of police reports alsQ indicate that rylr. Jones was able tq describe _to other
       partie~ during visit~tion phone conv~rsatioris circumstances and even.ts surrounding
       tpe afl~ged instant offe,::ise~.which h~ did no, admit todyring int~ryi$w. ~e did this in
       a clear and ·c9herent mann~r' on recordings. •.                • •   ; • • ..   • •        •
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   In s1,1mmary, !t continuJ~~ ·to be·my opi11ion "Yilh reasonable p!;>YC~QlggiGal certainty, Mr.
   Jeremiah J9hes has :.t~e ~bjlity to •under~tancf ·•the natuh~ . ang 9bjec~iv~ of l~g~I
   woceedin9s ~s well a~ the pr~s~mt capacity to··assi~t in his def~ns~·~•          •         ' :
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   T~C3/jr          "
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